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17
                        IN THE UNITED STATES DISTRICT COURT
18
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                    SOUTHERN DIVISION
20
21      MASIMO CORPORATION,                  ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and          )
22      CERCACOR LABORATORIES, INC.,         ) PLAINTIFFS’ REPLY
        a Delaware corporation               ) MEMORANDUM IN SUPPORT OF
23                                           ) ITS MOTION FOR PARTIAL
                 Plaintiffs,                 ) SUMMARY JUDGMENT
24                                           )
            v.                               ) Date:        February 6, 2023
25                                           ) Time:        1:30 p.m.
                                             )
        APPLE INC., a California corporation )  Location:   Courtroom  10C
26                                           )
                 Defendant.                  )
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28                        PROPOSED TO BE FILED UNDER SEAL
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1             Apple primarily opposes Masimo’s motion for summary judgment on procedural
2      grounds, none of which have merit. Apple also fails to present any evidence showing a
3      genuine dispute of material fact. The Court should grant Masimo’s motion.
4      A.     Apple Raises No Genuine Issue Of Material Fact Regarding Masimo’s
5             Possession Of The Trade Secrets
6             1.    Ownership Is Not Required
7             Apple argues Masimo cannot rely on possession to show ownership of the trade
8      secrets. Opp’n, 3-4. But CUTSA cases that refer to “ownership” use the term as
9      shorthand for possessing the trade secret and having the right to prevent dissemination.
10     See Cedars Sinai Med. Ctr. v. Quest Diagnostic Inc., 2019 WL 12521480, at *4-5 (C.D.
11     Cal. Aug. 9, 2019); see also Dkt. 1129-2 at 4-5 and Dkt. 1134 at 8-10. Apple presents
12     no factual dispute about Masimo possessing D-9 through D-15, as explained below.
13     And, if legal title is an element under CUTSA, Apple also presents no facts disputing
14     that Masimo employees assigned their work to Masimo, and that Masimo owns that
15     work. Exs. 9-11, 13 (Lamego assigning inventions to Masimo); Miller ¶16; Hammarth
16     ¶14.
17            Apple’s reliance on Sargent Fletcher and Jasmine is misplaced. Sargent Fletcher
18     refers to “ownership” in passing, but does not distinguish between possession and
19     ownership.    Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1665-66
20     (2003). Jasmine simply rejected a “current ownership” requirement and denied a motion
21     to dismiss because the plaintiff retained the right to sue when it assigned the trade
22     secrets. Jasmine Network, Inc. v. Superior Court, 180 Cal. App. 4th 980, 1005 (2010).
23     Apple has raised no issue regarding standing here.
24            Apple also argues Masimo should not be permitted to address the “ownership”
25     requirement on reply because Apple purportedly raised the requirement “months ago.”
26     Opp’n, 4, n.2. But Masimo addressed the evidence showing its possession, which
27     encompasses ownership as explained in detail in other Masimo briefs already before the
28     Court. Dkt. 1129-2 at 4-5 and Dkt. 1134 at 8-10. Regardless, Masimo’s moving papers

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1      included evidence regarding the obligation of the employees to assign to Masimo,
2      removing any question. See, e.g., Exs. 9-11, 13. Thus, Masimo need not address the
3      ownership/possession issue again on reply.
4            2.     Masimo Possesses The Trade Secrets
5                   a.     Apple’s Critiques Of Kiani And Diab Are Unavailing
6            Apple argues Masimo’s Statement of Uncontroverted Facts proffers only “two
7      paragraphs apiece from the Kiani and Diab declarations” to support Masimo’s
8      development of the            trade secrets. Opp’n, 4 (citing SUF No. 3). But Apple
9      apparently overlooked Masimo’s SUF Nos. 23-27, which cite substantial evidence
10     supporting the         trade secrets’ development. See SUF Nos. 23-27 (citing Kiani,
11     Diab, Poeze, Madisetti declarations and Exs. 8, 39, 43, 71, 72, and 74). This includes
12     Poeze’s declaration, his lab notebook, and expert testimony analyzing source code
13     excerpts that implement the trade secrets. Mot., 8-13.
14           Apple argues that the Kiani and Diab declarations are “conclusory.” Opp’n, 5
15     (citing FTC v. Publishing Clearing House, Inc., 104 F.3d 1168, 1171 (9th Cir. 1997)).
16     Apple’s characterizations are inaccurate. Kiani and Diab provided more than conclusory
17     statements. They provided facts about their personal involvement in the development
18     of                             at Masimo. See, e.g., Kiani ¶7, Diab ¶20.
19           Apple faults Diab for not drawing the legal conclusions as to whether Masimo’s
20     confidential information met the legal requirements for being a “trade secret.” Opp’n, 5.
21     But, Diab was prepared to answer factual questions on Masimo’s development of the
22     trade secrets, not to provide legal conclusions. See Ex. 14 at 18:6-19:25, 23:13-24:15,
23     24:2325:12, 96:6-97:5. Diab’s lack of an opinion about legal conclusions does not
24     preclude him from offering facts. Indeed, the Special Master told Apple legal contention
25     questions are inappropriate. Dkt. 894 at 5.
26           Further, Apple’s case Publishing Clearing House supports Masimo. Publishing
27     Clearing House affirmed summary judgment of liability because the appellant’s
28     affidavit at the district court did not include the facts that, on appeal, the appellant argued

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1      created a genuine issue of material fact. Publishing Clearing House, 104 F.3d at 1171.
2      Thus, because Apple cannot dispute the facts on possession, Publishing Clearing House
3      supports summary judgment here.
4                     b.    Apple Presents No Genuine Dispute That Masimo Possessed
5                           Trade Secret D-9
6              Apple argues Masimo does not identify any contemporaneous statement or
7      document that “recites the               ” Trade Secret D-9. Opp’n, 8-9. Apple presents
8      no authority for this requirement. Indeed, the authority makes clear this is not required.
9      See Cal. Civ. Code § 3426.1(d); see also Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514,
10     1518, 1521 (1997) (affirming misappropriation of trade secret that included a
11     “collection” of business cards and “knowledge” about customers). Further, this is not
12     true. Masimo established that at least the
13              . See Madisetti ¶¶42-88.
14
15                                  Madisetti’s opinions relying on this evidence detail the
16     development and thus possession of D-9.            Madisetti ¶¶42-88.    Apple does not
17     substantively rebut any of Madisetti’s opinions regarding the source code, or address
18     Poeze’s notebook or declaration.
19             Apple argues the
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26                                                        Id. ¶6.1 Regardless, this chronology of
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28         All emphasis is added.

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1                    c.   Apple Presents No Genuine Dispute That Masimo Possessed
2                         Trade Secrets D-10 Through D-15
3          Apple argues Masimo supports its possession of D-10 through D-15 with
4    conclusory assertions by Madisetti. Opp’n, 8 (citing Carl Zeiss A.G. v. Nikon Corp.,
5    2018 WL 11342771 (C.D. Cal. Nov. 14, 2018)). But Madisetti’s declaration is not
6    conclusory. Madisetti explained
7                                                                Madisetti ¶¶154-173, 207-
8    209. Madisetti also analyzed additional evidence, including
9                                  Id.
10         Carl Zeiss does not support Apple. In Carl Zeiss, the defendant offered an expert
11   declaration broadly opining “a person of ordinary skill in the art would understand
12   [certain patent disclosure].” 2018 WL 11342771, at *2. Madisetti went far beyond that.
13   Apple also ignores that the Poeze declaration describes Masimo’s possession of the trade
14   secrets. See SUF No. 27. Apple presented no evidence disputing the Madisetti or Poeze
15   declarations.
16         Apple argues Masimo’s “only argument” to show it possessed D-10 through D-15
17   is a “passing comment,” and is thus “waived.” Opp’n, 6 (citing Autotel v. Nevada Bell
18   Tel. Co., 697 F.3d 846 (9th Cir. 2012) and DMF Inc. v. AMP Plus, Inc., 2020 WL
19   4194099 (C.D. Cal. July 17, 2020)). Masimo presented more than a “passing comment.”
20   Indeed, Masimo explained that all of the evidence for trade secret D-9 also shows
21   possession of D-10 through D-15.        Mot., 11. Further, Masimo also cited to 23
22   paragraphs from the Madisetti declaration analyzing D-10 with source code excerpts.
23   Id., 11 (citing Madisetti ¶¶154-173, 207-209).
24         Apple’s cases do not support waiver. Autotel concerned whether the appellant
25   preserved an argument for appeal, not whether the argument was waived at summary
26   judgment. Autotel, 697 F.3d at 857 n.9. Further, Autotel found waiver because the
27   argument was a single sentence “unaccompanied” by citation to the record. Id. In
28   contrast, Masimo included numerous citations to evidence. Mot., 11 (citing Madisetti

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1    ¶¶154-173, 207-209).
2          DMF is similarly inapposite. DMF failed to raise an argument in its summary
3    judgment briefing. DMF v. AMP Plus, 2020 WL 4194099, at *2, n.1. Here, Masimo
4    made the argument in its brief.
5          Apple argues Madisetti’s declaration does not state that possession of D-9 shows
6    possession of D-10. Opp’n, 6. But, Madisetti actually opined Masimo possessed both
7    D-9 and D-10 based on the same evidence. Masimo’s brief relies on both of these
8    opinions. Mot., 11 (citing Madisetti ¶¶154-173, 207-209).
9          Apple next argues Madisetti’s declaration included new opinions and relied on
10   new evidence not previously cited in his expert report. Opp’n, 7. Apple relies on its
11   Motion to Strike. Dkt. 1124-1. But, as Masimo explained in its opposition to Apple’s
12   Motion to Strike, none of Madisetti’s opinions are new, and Madisetti relied on the same
13   evidence. Dkt. 1151-1 at 8-12.
14         Apple also argues the Court should exclude Madisetti’s declaration under the
15   sham affidavit doctrine, claiming it is inconsistent with his deposition. Opp’n, 7. Apple
16   argues Madisetti’s declaration is inconsistent because Madisetti testified at his
17   deposition that his report contained all of his opinions. Id. But Madisetti’s testimony is
18   not contradictory. Madisetti’s declaration does not offer any new opinions. See
19   Dkt. 1151-1 at 8-12 (explaining no contradiction).       At most, it properly provided
20   additional analysis supporting his original opinions. Id.
21         Moreover, the sham affidavit doctrine applies to the non-movant, Apple. This
22   doctrine states “a party cannot create an issue of fact by an affidavit contradicting prior
23   deposition testimony.” Yeager v. Bowlin, 693 F.3d 1076, 1080 (9th Cir. 2012). The
24   doctrine, thus, prevents a party from defeating summary judgment by submitting an
25   affidavit contradicting prior testimony. Id.
26         Payan is also inapplicable. In Payan, the expert testified that she did not disagree
27   with the opposing expert. Payan v. L.A. Cmty. Coll. Dist., 2018 WL 6164269, at *8 n.5
28   (C.D. Cal. Oct. 16, 2018). But to defeat summary judgment, she submitted a declaration

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1    identifying numerous substantive disagreements.         Id.    The court found that this
2    declaration was “a blatant attempt to create a sham issue of fact.” Id. That is nothing
3    like this case.
4           Apple further argues Madisetti has no personal knowledge regarding Masimo’s
5    development or possession of the trade secrets at the time of the misappropriation.
6    Opp’n, 7. But as explained above, Masimo does not rely on Madisetti’s personal
7    knowledge and he, as an expert, need not have any. Madisetti opined on whether the
8    factual declarations and Masimo documents show Masimo possessed the trade secrets.
9    Experts are permitted to rely on this type of evidence to support their opinions. See Fed.
10   R. Evid. 703.
11          Apple cites Kaur v. City of Lodi to argue Madisetti cannot testify on whether
12   Masimo possessed the trade secrets at the time of the misappropriation because he has
13   no personal knowledge of Masimo’s development. Opp’n, 7. In Kaur, the court rejected
14   defendants’ attempt to rely on experts to establish facts, rather than present opinions
15   based on facts. Kaur v. City of Lodi, 263 F. Supp. 3d 947, 977 (E.D. Cal. 2017). But
16   that is not the case here. Madisetti properly offered opinions based on the facts he
17   learned from Masimo’s witnesses and documents.
18          Apple criticizes Madisetti for his inability to identify where the trade secrets were
19   “recorded or otherwise captured in a single place before this litigation.” Opp’n, 8.
20   Apple cites no authority for such a rule. Indeed, a trade secret need not be reduced to
21   writing at all. See Morlife, 56 Cal. App. 4th at 1518, 1521.
22          Apple also faults Madisetti for                                            Opp’n, 8.
23   But this is irrelevant. Apple does not dispute that source code reveals the operational
24   details, not the physical device. Madisetti formed his opinions based on his review of
25                             . See, e.g., Madisetti ¶¶53-59, 62-71, 154-173, 207-209.
26          Apple further faults Madisetti for purportedly lacking personal knowledge
27   regarding the origin                              . Opp’n, 8. But Madisetti analyzed the
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1                 See, e.g., Madisetti ¶¶60, 62. Moreover, Madisetti relied on Poeze’s
2    declaration, which                                  . See e.g., Madisetti ¶65; see also
3    Poeze ¶¶3, 6. Moreover, Madisetti need not have personal knowledge because experts
4    in the field reasonably rely on source code when forming opinions. Fed. R. Evid. 703.
5          Finally, Apple complains Masimo did not “put an authenticated version of the
6                                into the summary judgment record.” Opp’n, 8. Apple does
7    not explain why this would be helpful to the Court. Madisetti included and explained
8    the relevant excerpts of the source code in his declaration. Because source code is the
9    type of evidence on which Madisetti can reasonably rely, it need not be admissible. Fed.
10   R. Evid. 703.
11   B.    Apple Raises No Genuine Issue Of Material Fact That The Trade Secrets
12         Derive Value From Not Being Generally Known
13         1.    Masimo’s Trade Secrets Derive Independent Economic Value
14         Parties can show that trade secrets have independent economic value by showing
15   (1) resources invested in producing the trade secret; (2) efforts to protect the trade
16   secrets; and (3) willingness of others to pay for access to the trade secrets. Calendar
17   Rsch. LLC v. StubHub, Inc., 2017 WL 10378336, at *3 (C.D. Cal. Aug. 16, 2017)
18   (explaining “[t]he standard to show that trade secrets derive [independent] economic
19   value is not a high standard”). Masimo provided evidence of all three categories.
20   Mot., 14 (significant resource investment), 16-17 (secrecy precautions), 4-6, 17-22
21
22         Apple cites two cases to argue Masimo failed to show “each purported
23   secret at issue has independent economic value or is generally known” and instead
24   analyzed the trade secrets “in the aggregate.” Opp’n, 10 (citing Mattel, Inc. v. MGA
25   Ent., Inc., 782 F. Supp. 2d 911, 959 (C.D. Cal. 2011), and Brocade Commc’ns Sys., Inc.
26   v. A10 Networks, Inc., 873 F. Supp. 2d 1192, 1213-14 (N.D. Cal. 2012)). Neither case
27   stands for such a requirement. Regardless, Masimo properly analyzed the trade secrets
28   together because the trade secrets are valuable for similar reasons. This should not be

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1    that “[d]erives independent economic value, actual or potential, from not being generally
2    known to the public or to other persons who can obtain economic value from its
3    disclosure or use.” Cal. Civ. Code § 3426.1(d)(1). Accordingly, Masimo argued that its
4          trade secrets “are also valuable because they were not generally known to others.”
5    Mot., 14.
6          Finally, Apple cannot dispute Masimo’s            trade secrets have independent
7    economic value because Apple sought and obtained a patent on these trade secrets. Id.,
8    14-15.
9          2.     Masimo’s Trade Secrets Were Not Generally Known
10         Apple relies on Sarrafzadeh’s opinions that       trade secrets lack value because
11   they are generally known to relevant people. Opp’n, 13-14. Masimo moved to exclude
12   those opinions because Apple applied the wrong legal standard. Dkt. 1174. If the Court
13   grants Masimo’s motion, Apple would have no response to Masimo’s evidence that the
14         trade secrets are valuable because the trade secrets are not generally known to
15   relevant people. Thus, no genuine dispute exists.2
16         Further, Sarrafzadeh found no evidence that
17                                                                      was generally known
18   in the field. Madisetti ¶¶145-49. Apple has not presented any evidence from which a
19   reasonable juror could conclude the trade secrets have no value because the industry
20   generally knows them.
21         Apple also argues that Altavion, Inc. v. Konica Minolta Sys. Lab’y, Inc., 226 Cal.
22   App. 4th 26 (2014), does not apply because this is not a “combination” trade secret case.
23   Opp’n, 14. Apple argued the same in its opposition to Masimo’s Daubert motion.
24   Dkt. 1159-1 at 11-12. As Masimo explains in its Daubert reply, Apple cited no authority
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26   2
      Apple also argues that the trade secrets are readily ascertainable because Apple “could
27   have” relied on publicly available documents to replicate the trade secrets. Opp’n, 14
28   n.8. Apple is legally wrong. Dkt. 1174 at 3-7 (citing, e.g., Masimo Corp. v. True
     Wearables, Inc., 2022 WL 17083396, at *20 (C.D. Cal. Nov. 7, 2022)).
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1    to support the existence of what Apple calls a “combination trade secret,” let alone the
2    procedural hurdles Apple seeks to impose.
3          Apple’s critiques of Masimo’s evidence also lack merit. Apple argues Lamego’s
4    statements are not specific to any trade secret. Opp’n, 10. At Masimo, Lamego
5    explained
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11                                               See also Madisetti ¶¶48-52.
12         At Apple, Lamego
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18                                                           Opp’n, 20.
19         Apple also argued
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24                Ex. 37 at -6730.
25         Apple also argues
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1                                                                             This is particularly
2    true in view of Masimo’s additional evidence, including
3
4          Apple claims the patent validity analysis is “different” from the generally known
5    analysis. Opp’n, 12. Masimo agrees, but the requirement to show information is “novel”
6    is higher than the requirement to show information is not generally known. Indeed, “a
7    trade secret may be a device or process which is clearly anticipated in the prior art.”
8    Altavion, 226 Cal. App. 4th at 54. As the California Court of Appeal explained, “If an
9    invention has sufficient novelty to be entitled to patent protection, it may be said a
10   fortiori to be entitled to protection as a trade secret.” Id. at n.22 (quoting treatise).
11         Next, Apple argues Masimo waived its argument that the trade secrets have value
12   from not being generally known because the argument was conclusory. Opp’n, 11. As
13   explained above, Apple’s cases do not support waiver.
14         Apple next complains Diab and Madisetti did not survey Masimo’s competitors
15   to confirm competitors were not using Masimo’s trade secrets. Opp’n, 11-12. But
16   Apple presents no authority requiring such survey. Indeed, such a survey would risk
17   revealing Masimo’s trade secrets. Diab properly relied upon his decades of experience
18   developing                                                          to show that Masimo’s
19   trade secrets are not generally known. Diab ¶¶2, 30. Similarly, Madisetti relied upon
20   his over 25 years of experience in                        . Madisetti ¶5. Apple does not
21   dispute their opinions and personal knowledge in the relevant field.
22         Apple states Madisetti’s “only explanation for why                 Nos. 11-15 are not
23   generally known is that Apple’s expert has not identified references that show the secrets
24   were generally known.” Opp’n, 12 (citing Atmel Corp. v. Info. Storage Devices, Inc.,
25   189 F.R.D. 410, 416 (N.D. Cal. 1999)). D-11 through D-15 incorporate D-10. Apple
26   ignores Madisetti provided affirmative opinions that D-10 was not generally known and
27   then incorporated that opinion into D-11 through D-15. Madisetti ¶¶175-187, 196, 205,
28   213, 219, 225. Madisetti certainly never “refrained … from educating himself on the

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1    universe of literature in the relevant time frame.” Atmel, 189 F.R.D. at 416.
2          Apple next objects that Madisetti cannot rely on Masimo’s research efforts and
3    costs to show Masimo’s trade secrets have value because they are not generally known
4    to people in the relevant field. Opp’n, 12-13. Specifically, Apple argues Madisetti did
5    not apportion the research efforts and costs between the
6                           Id. But Apple cites no authority requiring such apportionment.
7    Here, the
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12                                                                    Kiani ¶7; see also Mot.
13   14; Diab ¶31; Altavion, 226 Cal. App. 4th at 64 (finding general testimony about
14   development efforts sufficient to support economic value).
15   C.    Apple Raises No Genuine Issue Of Material Fact Regarding Masimo’s
16         Reasonable Steps To Maintain Secrecy
17         Masimo presented unrebutted evidence of its efforts to maintain secrecy. Apple
18   responded with legal challenges to the sufficiency of Masimo’s efforts. But Apple’s
19   challenges are not supported by law.
20         Apple argues granting summary judgment on reasonable efforts to maintain
21   secrecy is appropriate only in “extreme” cases. Opp’n, 15 (citing Palantir Techs. Inc. v.
22   Abramowitz, 2022 WL 2952578, at *4 (N.D. Cal. July 26, 2022), and HiRel Connectors,
23   Inc. v. United States, 2005 WL 4958547, at *4 (C.D. Cal. Jan. 4, 2005)). But, Apple’s
24   cases are not applicable. Both cases address defendant’s summary judgment motion
25   challenging whether plaintiff’s secrecy efforts were reasonable. Palantir denied the
26   motion despite plaintiff disclosing the alleged trade secret and taking no remedial action
27   after learning the defendant planned to file a patent application on it. Palantir, 2022 WL
28   2952578, at *4. HiRel granted summary judgment of no trade secret misappropriation

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1    where the parties did not dispute the trade secret was published. HiRel, 2005 WL
2    4958547, at *5. Apple has not presented any evidence that Masimo publicly disclosed
3    the trade secrets before the alleged misappropriation.
4           Apple argues Masimo failed to show its efforts are “specific” to the seven
5    particular       trade secrets. Opp’n, 15-16 (citing Mattel, 782 F. Supp. 2d at 959).
6    Apple cites to the summary judgment order in Mattel as purportedly requiring “specific”
7    secrecy efforts. Id. But the Mattel court imposed no such requirement. There, the trade
8    secret owner submitted employee declarations regarding general measures to protect
9    categories of documents in response to a motion challenging its efforts to maintain
10   secrecy. Mattel, 782 F. Supp. 2d at 965, 971, 979 (evidence included confidentiality
11   policies to mark information confidential and certain failures to mark documents as
12   confidential). The court found a genuine issue of material fact based on that evidence.
13   Id.   Later, on JMOL, the Mattel court explained the factfinder “did not need to
14   myopically restrict consideration to direct evidence about [a] particular trade secret.”
15   Mattel, Inc. v. MGA Ent., Inc., 2011 WL 3420571, at *4 (C.D. Cal. Aug. 4, 2011).
16   Rather, the evidence in the record, including computer password protection, a code of
17   conduct, reminders of confidentiality obligations during exit interviews, and regulating
18   building access, provided legally sufficient grounds to conclude the information at issue
19   was subject to reasonable efforts to maintain secrecy. Id. at *5-6. Thus, Mattel does not
20   require Masimo’s unrebutted evidence to be specific to each trade secret to meet its
21   burden on summary judgment.
22          Apple also argues Masimo’s “general” security measures are “largely
23   meaningless” because Masimo did not provide employees guidance on what is a trade
24   secret. Opp’n, 17 (citing Mattel, 782 F. Supp. 2d at 959). Mattel does not require
25   employers provide legal training. There is no dispute Masimo
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3                                         see also Marine Turbo Eng., Ltd. v. Turbocharger
4    Svcs. Worldwide, LLC, 2012 WL 13005811, *8 (S.D. Fla. July 23, 2012) (granting
5    summary judgment for trade secret owner, holding that employment agreement
6    specifically prohibiting disclosure of confidential information and plaintiff’s action to
7    stop the misuse satisfied reasonable efforts requirement).
8          Apple argues that Masimo’s witnesses
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11                              Apple cites no authority that Masimo employees need to draw
12   such legal conclusions. Nor does Apple cite any authority that requires such testimony
13   to meet Masimo’s burden of proof on efforts to maintain secrecy.
14         Further, Apple misrepresents that testimony. Apple demanded Masimo fact
15   witnesses                                                                             even
16   though the Special Master rejected such questions as improper. Dkt. 894 at 5. Masimo’s
17   employees
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19                 Ex. F at 105:19-22, 116:3-120:1; Ex. H at 17:17-22.
20         Apple also cites SPS Techs., LLC v. Briles Aerospace, Inc., 2021 WL 5785264, at
21   *8-9 (C.D. Cal. Sept. 3, 2021). Opp’n, 17. But SPS is inapplicable. There, the defendant
22   moved for summary judgment of no misappropriation. The court found a genuine
23   dispute of material fact regarding efforts to maintain secrecy despite the trade secret
24   owner disclosing its trade secrets to third parties without any confidentiality obligations
25   and failing to mark some documents as confidential. Id.
26         Apple presents no facts rebutting Masimo’s secrecy efforts.
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1                                                                              . See Ono’s
2    Trading Co., LLC v. Parnell, 2006 WL 8437743, at *9 (S.D. Ala. Nov. 22, 2006)
3    (granting summary judgment of trade secret misappropriation where defendant worked
4    on technology at his former company and then patented that technology as his own).
5          Apple cites no evidence
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7                                                                                   , Apple
8    would still have misappropriated Masimo’s trade secrets. See Mattel, 782 F. Supp. 2d
9    at 967 (citing Greenly v. Cooper, 77 Cal. App. 3d 382, 392, 143 Cal. Rptr. 514, 521
10   (1978)) (transfer of trade secret “information need not be in writing but may be in the
11   employees’ memory”). Apple incorrectly labels Madisetti’s misappropriation opinion
12   on D-9 as conclusory. Opp’n, 18 (citing Madisetti ¶113). Apple disregards the detailed
13   discussion of D-9 in paragraphs 87-112. Contrary to Apple’s assertion, these opinions
14   are also not new. See Dkt. 1151-1 (Masimo’s Opposition to Apple’s Motion to Strike).
15         Apple argues Masimo engages in “sleight of hand” by
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26                                     See Pac. Aerospace & Elecs., Inc. v. Taylor, 295 F.
27   Supp. 2d 1205, 1213-15 (E.D. Wash. 2003).
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8                 c.     Apple Improperly Acquired Masimo’s           Trade Secrets
9          Apple argues there is a genuine dispute on whether “Apple knew or had reason to
10   know Lamego had acquired those [trade] secrets through improper means.” Opp’n, 19.
11   The issue is whether Apple knew or had reason to know that Apple acquired Masimo’s
12   trade secrets by improper means from Lamego. See Cal. Civ. Code § 3426.1(b). No
13   genuine dispute of fact exists on that issue.
14         Before Apple even hired Lamego,
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5                                             allegedly creating an issue of fact on whether
6    Apple knew or should have known that Apple was misappropriating Masimo trade
7    secrets. Opp’n, 19. Apple cites no declaration. Arguments do not create disputed facts.
8          Moreover, such an assumption would not save Apple. Apple cites Braxton-Secret
9    v. A.H. Robins Co., 769 F.2d 528, 531 (9th Cir. 1985), a products liability case. That
10   case does not help Apple. The case analyzed whether it was reasonable to conclude that
11   the plaintiff “knew or should have known” that defendant’s birth-control device caused
12   her miscarriage. Braxton-Secret, 769 F.2d at 531. Despite the plaintiff’s testimony that
13   she did not know the device could cause a miscarriage, the court affirmed summary
14   judgment that she should have known about the link between the device and her
15   miscarriage. Id. at 531. This supports Masimo—not Apple.
16         Apple also argues it is shielded from respondeat superior because of its policies,
17   claiming
18                                Opp’n, 19 n.13. Apple cites no authority supporting such
19   an extreme rule. Another court in this district concluded the opposite. See Allergan,
20   Inc. v. Merz Pharmas., LLC, 2012 WL 781705 at *3, 13 (C.D. Cal. Mar. 9, 2012). In
21   Allergan, multiple employees of the plaintiff left to work for the defendant. Id. at *3.
22   The employees signed agreements promising not to disclose confidential information of
23   their former employers. Id. at *3, *6. Despite those agreements, the court found their
24   employer liable under the doctrine of respondeat superior. Id.
25         Apple implies that respondeat superior applies only when the improper act was
26   “foreseeable.” Opp’n, 19 n.13 (quoting Language Line Servs., Inc. v. Language Servs.
27   Assocs., LLC, 2010 WL 2764714, at *3 (N.D. Cal. July 13, 2010)). Language Line
28   observed that respondeat superior applies “if the employee’s act was an outgrowth of his

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1    employment, inherent in the working environment, typical of or broadly incidental to
2    the employer’s business, or, in a general way, foreseeable from his duties.” 2010 WL
3    2764714, at *3 (cleaned up).
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7          2.     Apple Used And Disclosed Masimo’s             Trade Secrets
8          Apple argues that it did not know or have reason to know that Lamego had an
9    obligation to keep Masimo’s         information confidential. Opp’n, 20. As explained
10   above, Apple is incorrect. See supra Section II.E.1.c.
11         Apple accuses Masimo of
12                              Opp’n, 20. But Masimo has shown possession of these trade
13   secrets, as discussed above. The source of the trade secret language in no way excuses
14   Apple’s acquisition, use, and disclosure.
15         Instead of raising a genuine dispute of material fact on D-9, Apple attacks Masimo
16   on procedural grounds, moving to strike the declarations of Poeze and Madisetti.
17   Opp’n, 20 (citing Dkt. 1124). But, the Poeze and Madisetti declarations are appropriate.
18   Dkt. 1151-1 (Masimo Opposition To Motion To Strike).
19   E.    Apple Harmed Masimo By Misappropriating Masimo’s Trade Secrets
20         Apple alleges that Masimo failed to establish that Apple’s misappropriation
21   harmed Masimo. Opp’n, 20-21. Kiani and Diab testified that
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24                                                                                That claim
25   is very harmful to Masimo. See True Wearables, 2022 WL 17083396, ¶176 (this Court
26   finding that prosecuting patents containing Masimo’s trade secrets harms Masimo).
27   Kiani also explained
28              Kiani ¶8. Apple cannot eliminate that harm by labeling it “self-serving.”

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1          Apple relies on Thomas Petroleum LLC v. Lloyd, 2012 WL 4511369 (E.D. Cal.
2    Oct. 2, 2012), to argue Apple’s possession alone shows no harm. Opp’n, 21. But
3    Masimo does not rely on Apple’s possession alone to show harm. Apple both used and
4    disclosed Masimo’s                                         .    These facts establish
5    Masimo’s harm. True Wearables, 2022 WL 17083396, ¶176.
6
7                                          Respectfully submitted,
8                                          KNOBBE, MARTENS, OLSON & BEAR, LLP
9
10   Dated: January 23, 2023               By: /s/ Kendall M. Loebbaka
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18                                                 CERCACOR LABORATORIES, INC.
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1                                  CERTIFICATE OF COMPLIANCE
2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 6,699 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
7    Dated: January 23, 2023                    By: /s/ Kendall M. Loebbaka
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